          Case 3:17-cr-00259-CRB Document 109 Filed 08/10/18 Page 1 of 1


 1    ANDREW CROCKER (SBN 291596)
      andrew@eff.org
 2    JAMIE L. WILLIAMS (SBN 279046)
 3    jamie@eff.org
      ELECTRONIC FRONTIER FOUNDATION
 4    815 Eddy Street
      San Francisco, CA 94109
 5    Telephone: (415) 436-9333
      Fax: (415) 436-9993
 6
      Counsel for Amicus Curiae
 7    Electronic Frontier Foundation
 8

 9                                   UNITED STATES DISTRICT COURT

10                              FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                      SAN FRANCISCO DIVISION

12                                                       )
      UNITED STATES OF AMERICA,                          )
13                                                       )    Case No. 3:17-cr-00259-CRB
              v.                                         )
14                                                       )    NOTICE OF SUBSTITUTION OF
      RYAN MICHAEL SPENCER,                              )    COUNSEL
15                                                       )
                                                         )
16
              TO THE COURT AND ALL ATTORNEYS OF RECORD
17
              PLEASE TAKE NOTICE THAT Mark Rumold (State Bar No. 279060), mark@eff.org, is
18
      no longer counsel of record for Electronic Frontier Foundation in this matter. Andrew Crocker and
19
      Jamie Williams remain counsel of record for Amicus Curiae Electronic Frontier Foundation and
20
      should continue to receive all notices, correspondence, and pleadings.
21
22    Dated: August 10, 2018                            By: /s/ Mark Rumold
23
                                                        ELECTRONIC FRONTIER FOUNDATION
24                                                      815 Eddy Street
                                                        San Francisco, CA 94109
25
                                                        Attorneys for Amicus Curiae
26
                                                        Electronic Frontier Foundation
27
28


     Case No. 17-cr-00259-CRB           NOTICE OF CHANGE IN COUNSEL
